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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION

VOTE.ORG, et al.,
      Plaintiffs,
v.                                              Case No. 4:23-cv-111-AW-MAF
CORD BYRD, in his official capacity as
SECRETARY OF STATE OF
FLORIDA, et al.,
     Defendants.
_______________________________/
                    ORDER GRANTING LEAVE TO REPLY

      The motion to strike or for leave to respond (ECF No. 121) is granted to this

extent: Movants may file a reply to the United States’ statement of interest (ECF

No. 118) within ten days. The motion is otherwise denied.

      SO ORDERED on July 19, 2023.

                                      s/ Allen Winsor
                                      United States District Judge
